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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            Case No. 18-CV-25431-WILLIAMS

  OMAIRA GIL DEL TORO,

        Plaintiff,

  vs.

  COMMISSIONER OF SOCIAL
  SECURITY ADMINISTRATION

       Defendant.
  _________________________________/

                                          ORDER

        THIS MATTER is before the Court on (DE 21) Magistrate Judge Edwin G. Torres’

  Report and Recommendation (“Report”). In the Report, Judge Torres recommends that

  Plaintiff’s motion for summary judgment (DE 17) be denied, and that Defendant’s motion

  for summary judgment (DE 19) be granted. The Parties did not file objections to the

  Report and the time to do so has now passed. Based upon an independent review of the

  Report and the full record in this case, the Court ORDERS AND ADJUDGES that:

        1.      Judge Torres’ Report (DE 21) is ADOPTED AND AFFIRMED.

        2.      Plaintiff’s motion for summary judgment (DE 17) is DENIED.

        3.      Defendant’s motion for summary judgment (DE 19) is GRANTED.

        4.      The decision of the Administrative Law Judge is AFFIRMED.

        5.      This action is DISMISSED. The Clerk of the Court is directed to CLOSE this

                case.
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          DONE AND ORDERED in chambers in Miami, Florida this 29th day of September,

  2021.




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